8:05-cr-00294-BCB-SMB   Doc # 213   Filed: 05/13/09   Page 1 of 1 - Page ID # 1264



            IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                8:05CR294
                              )
          v.                  )
                              )
FRANCISCO ROBLES,             )                   ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on defendant’s leave to

interlocutory appeal (Filing No. 202).           The Court has reviewed

the file and finds a certificate of appealability will not be

issued.   Accordingly,

           IT IS ORDERED that no certificate of appealability is

issued as petitioner has failed to raise a substantial

constitutional issue.

           DATED this 13th day of May, 2009.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    ____________________________
                                    LYLE E. STROM, Senior Judge
                                    United States District Court
